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                         UNITED STATES DISTRICT COURT FOR THE
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
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 9
       UNITED STATES OF AMERICA,                     NO. MJ20-547
10
                             Plaintiff,
11                                                   MOTION FOR DETENTION
12
                        v.
13
14     DESMOND DAVID-PITTS,
15                       Defendant.
16
17
            The United States moves for pretrial detention of the Defendant, pursuant to
18
     18 U.S.C. 3142(e) and (f)
19
            1.     Eligibility of Case. This case is eligible for a detention order because this
20
     case involves (check all that apply):
21
            ☒      Crime of violence (18 U.S.C. 3156).
22
            ☐      Crime of Terrorism (18 U.S.C. 2332b (g)(5)(B)) with a maximum sentence
23                 of ten years or more.
24
            ☐      Crime with a maximum sentence of life imprisonment or death.
25
26          ☐      Drug offense with a maximum sentence of ten years or more.
27
28
      MOTION FOR DETENTION - 1                                            UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
 1         ☐      Felony offense and defendant has two prior convictions in the four
 2                categories above, or two State convictions that would otherwise fall within
                  these four categories if federal jurisdiction had existed.
 3
 4         ☐      Felony offense involving a minor victim other than a crime of violence.

 5         ☐      Felony offense, other than a crime of violence, involving possession or use
 6                of a firearm, destructive device (as those terms are defined in 18 U.S.C.
                  921), or any other dangerous weapon.
 7
 8         ☐      Felony offense other than a crime of violence that involves a failure to
 9                register as a Sex Offender (18 U.S.C. 2250).

10         ☒      Serious risk the defendant will flee.
11
           ☐      Serious risk of obstruction of justice, including intimidation of a
12                prospective witness or juror.
13
           2.     Reason for Detention. The Court should detain defendant because there
14
     are no conditions of release which will reasonably assure (check one or both):
15
           ☒      Defendant’s appearance as required.
16
17         ☒      Safety of any other person and the community.
18         3.     Rebuttable Presumption. The United States will invoke the rebuttable
19 presumption against defendant under 3142(e). The presumption applies because:
20
21         ☒      Probable cause to believe defendant committed an offense listed in
                  18 U.S.C. § 2332b(g)(5)(B).
22
23                Legal authority: The Bail Reform Act, at Title 18, United States Code,
                  Section 3142(e)(3)(C), provides a rebuttable presumption for detention in
24                cases like the instant one, where a defendant is charged with an offense
25                listed in 18 U.S.C. § 2332b(g)(5)(B). Arson, in violation of Title 18,
                  United States Code, Section 844(i), is such an offense.
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27
28
      MOTION FOR DETENTION - 2                                           UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
                                                                          SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
 1        4.     Time for Detention Hearing. The United States requests the Court
 2 conduct the detention hearing:
 3        ☒      At the initial appearance
 4        ☐      After a continuance of      days (not more than 3)
 5
 6
          DATED this 27th day of August, 2020.
 7
 8                                           Respectfully submitted,
 9
                                             BRIAN T. MORAN
10                                           United States Attorney
11
12                                           __/s Todd Greenberg____________
                                             TODD GREENBERG
13
                                             Assistant United States Attorney
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     MOTION FOR DETENTION - 3                                           UNITED STATES ATTORNEY
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